       Case 6:99-cr-10023-JWB           Document 236         Filed 08/30/05       Page 1 of 2




                         IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF KANSAS


 UNITED STATES OF AMERICA,
                         Plaintiff,


                         vs.                                Case No. 99-10023-04-JTM


 ROBERT TURNER,
                         Defendant.




                                  MEMORANDUM AND ORDER

       Following his conviction on March 7, 2001 of multiple counts of the Indictment, defendant

Robert Turner filed a direct appeal which was rejected by the Tenth Circuit on April 26, 2002.

Turner later filed a Motion to Vacate under § 2255, which was denied by this court on April 9, 2004.

(Dkt. No. 216). Turner then filed a Motion for Judgment; this was denied on October 22, 2004.

(Dkt. No. 233). The matter is before the court on defendant-petitioner Robert Turner’s Motion for

Discovery. Turner seeks copies of the Food-4-Less surveillance videotape, as well as the videotape

of his co-defendant’s confession.

       Turner’s wholly general and conclusory request for the discovery is without merit. He has

failed to articulate how discovery would help develop any basis for § 2255 relief, especially given

the court’s previous rejection of his prior § 2255 motion. Rule 6(a) of the rules relating to § 2255

proceedings provides that the court in its discretion and for good cause may permit a party to take

discovery. Turner has not shown that he could be entitled to relief if the facts were more fully

developed on his claims, that he might able to demonstrate that he is entitled to relief, and therefore
      Case 6:99-cr-10023-JWB          Document 236        Filed 08/30/05   Page 2 of 2




has not shown good cause for discovery. See Bracy v. Gramley, 520 U.S. 899, 908-09, 117 S.Ct.

1793, 138 L.Ed.2d 97 (1997).

       IT IS ACCORDINGLY ORDERED this 30th day of August, 2005, that the defendant-

petitioner’s Motion for Discovery, (Dkt. No. 235) is hereby denied.



                                                    s/ J. Thomas Marten
                                                    J. THOMAS MARTEN, JUDGE




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